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                      IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

 IN RE NATIONAL PRESCRIPTION                      MDL No. 2804
 OPIATE LITIGATION                                Case No. 17-md-2804
                                                  Judge Dan Aaron Polster

 This document relates to:
 The County of Cuyahoga v. Purdue
 Pharma L.P., et al., Case No. 17-OP-45004

 The County of Summit, Ohio, et al. v.
 Purdue Pharma L.P. et al.,
 Case No. 18-OP-45090


     DECLARATION OF DONNA M. WELCH IN SUPPORT OF DEFENDANTS
   ALLERGAN PLC, ALLERGAN FINANCE, LLC, ALLERGAN SALES, LLC, AND
   ALLERGAN USA, INC.’S INDIVIDUAL MOTION FOR SUMMARY JUDGMENT

       I, Donna M. Welch, declare as follows:

       1.     I am an attorney at Kirkland & Ellis LLP, counsel for Defendants Allergan plc f/k/a

Actavis plc (specially appearing), Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a Watson

Pharmaceuticals, Inc., Allergan Sales, LLC, and Allergan USA, Inc. in the above captioned case.

       2.     I submit this declaration in support of the Defendants Allergan plc f/k/a Actavis plc

(specially appearing), Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a Watson Pharmaceuticals,

Inc., Allergan Sales, LLC, and Allergan USA, Inc. Individual Motion For Summary Judgment.

       3.     Attached as Exhibit 1 is a true and correct copy of the Settlement Agreement and

Mutual Releases between Teva Pharmaceutical Industries Ltd. and Allergan plc, dated January

31, 2018, bearing the bates number ALLERGAN_MDL_01396687.

       4.     Attached as Exhibit 2 is a true and correct copy of Exhibit 3 from the October 26,

2018 deposition of Stephan Kaufhold.
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       5.      Attached as Exhibit 3 is a true and correct copy of excerpts from Allergan’s Fourth

Amended Objections and Responses to Plaintiffs’ Corrected Second Set of Interrogatories, dated

March 4, 2019.

       6.      Attached as Exhibit 4 is a true and correct copy of excerpts from the May 10, 2019

Expert Report of Margaret K. Kyle.

       7.      Attached as Exhibit 5 is a true and correct copy of excerpts from the May 10, 2019

Expert Report of Carl C. Peck.

       8.      Attached as Exhibit 6 is a true and correct copy of excerpts of the August 2, 2018

deposition transcript of Jennifer Altier.

       9.      Attached as Exhibit 7 is a true and correct copy of excerpts of the April 24, 2019

deposition transcript of Matthew Perri.

       10.     Attached as Exhibit 8 is a true and correct copy of a document dated January 1,

2010 bearing the bates number ALLERGAN_MDL_02147111.

       11.     Attached as Exhibit 9 is a true and correct copy of a document dated August 26,

2011 bearing the bates number ALLERGAN_MDL_00400518.

       12.     Attached as Exhibit 10 is a true and correct copy of excerpts of the January 17,

2019 deposition transcript of Douglas Boothe.

       13.     Attached as Exhibit 11 is a true and correct copy of a document bearing the bates

number TEVA_MDL_JD000066.

       14.     Attached as Exhibit 12 is a true and correct copy of the Master Purchase

Agreement between Allergan plc and Teva Pharmaceutical Industries Ltd., dated July 26, 2015,

bearing the bates number ALLERGAN_MDL_01470362.




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       15.     Attached as Exhibit 13 is a true and correct copy of the Kadian Asset Purchase

Agreement, dated December 17, 2008, bearing the bates number ALLERGAN_MDL_00378157.

       16.     Attached as Exhibit 14 is a true and correct copy of the May 10, 2019 Expert Report

of Jonathan R. Macey.

       17.     Attached as Exhibit 15 is a true and correct copy of excerpts of the May 29, 2019

deposition transcript of Jonathan R. Macey.

       18.     Attached as Exhibit 16 is a true and correct copy of a document dated March 31,

2016 bearing the bates number ALLERGAN_MDL_01373716.

       19.     Attached as Exhibit 17 is a true and correct copy of excerpts of the May 4-5, 2019

deposition transcript of Meredith B. Rosenthal.

       20.     Attached as Exhibit 18 is a true and correct copy of excerpts of the May 9, 2019

deposition transcript of Craig J. McCann.

       21.     Attached as Exhibit 19 is a true and correct copy of excerpts of the June 13, 2019

deposition transcript of Lacey R. Keller.

       22.     Attached as Exhibit 20 is a true and correct copy of excerpts of the June 27, 2019

Supplemental Expert Report of Margaret K. Kyle.

       23.     Attached as Exhibit 21 is a true and correct copy of a document bearing the bates

number ALLERGAN_MDL_01104711




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                                      Respectfully submitted,


Dated: June 28, 2019                  /s/ Donna M. Welch
                                      Donna M. Welch, P.C.
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                                      300 North LaSalle
                                      Chicago, IL 60654
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                                      Attorney for Defendants Allergan plc (specially
                                      appearing), Allergan Finance, LLC (f/k/a/ Actavis, Inc.
                                      f/k/a Watson Pharmaceuticals, Inc.), Allergan Sales,
                                      LLC, and Allergan USA, Inc.




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                                  CERTIFICATE OF SERVICE

        I, Donna M. Welch, hereby certify that the foregoing document was served via the

electronic mail to all parties.



                                                   /s/ Donna M. Welch________
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